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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

Civil Action No. 25-cv-00425-STV

TINA M. PETERS,

        Applicant,

v.

JOHN FEYEN, in his official capacity as Sheriff of Larimer County, Colorado; and
PHILIP J. WEISER, in his official capacity as Attorney General of the State of Colorado,

        Respondents.


            STATEMENT OF INTEREST OF THE UNITED STATES OF AMERICA


        Tina Peters has sought relief in this action through an Application filed pursuant to 28

U.S.C. § 2254. The United States respectfully submits this Statement of Interest pursuant to 28

U.S.C. § 517.1

        Ms. Peters is currently incarcerated while pursuing a direct appeal of her underlying

nonviolent convictions and combined nine-year sentence. The Application explains that Ms.

Peters suffers from serious health issues and that, while incarcerated, her physical and mental

health have deteriorated. Reasonable concerns have been raised about various aspects of Ms.

Peters’ case. These concerns relate to, among other things, the exceptionally lengthy sentence

imposed relative to the conduct at issue, the First Amendment implications of the trial court’s

October 2024 assertions relating to Ms. Peters, and whether Colorado’s denial of bail pending


1Congress has authorized the Attorney General to send “any officer of the Department of Justice . . . to
any . . . district in the United States to attend to the interests of the United States in a suit pending in a
court of the United States.” 28 U.S.C. § 517.
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appeal was arbitrary or unreasonable under the Eighth and Fourteenth Amendments such that

§ 2254 relief is appropriate. Accordingly, the United States respectfully submits that the

concerns raised in the Application warrant—at the very least—prompt and careful consideration

by this Court (and, at the appropriate time, the Colorado appellate courts).

       Parallel to these proceedings and Ms. Peters’ direct appeal, the Department of Justice is

reviewing cases across the nation for abuses of the criminal justice process. See Attorney

General Memorandum, Restoring the Integrity and Credibility of The Department of Justice

(February 5, 2025). This review will include an evaluation of the State of Colorado’s

prosecution of Ms. Peters and, in particular, whether the case was “oriented more toward

inflicting political pain than toward pursuing actual justice or legitimate governmental

objectives.” Executive Order 14147, Ending the Weaponization of The Federal Government

(Jan. 20, 2025).

                                                     Respectfully submitted,

                                                     YAAKOV M. ROTH
                                                     Acting Assistant Attorney General
                                                     Civil Division

                                                     s/J. Bishop Grewell
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                                 CERTIFICATE OF SERVICE
       I certify that on this 3rd day of March, 2025, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which will send notification of such filing to all
counsel of record in this case




                                              By:     s/Mariah Hill
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